Case 1:16-cv-02134-ALC Document 86-49 Filed 08/18/17 Page 1 of 29

CIVIL CDURT OF THE CITY CII~` N.EW YORK
CO`UNTY GF BRO`NX
______________________________________________________ X

TOWNSEND GARUEN CQRP,, `
Pl“i‘“m"’ I`N`D`EX NO» tnt-
FILE .NO. 2963

"Itg,ainst1
SUMMONS _
Flaee ot`Venue is Plaintit`t"s
place of business:
M.aria Tiraci.o,
1549 Townsend Avenue
`BRONX, NEW Y()RK 0

Det`endant(e)

...................................................... x
To the above named defendants(s):

YOU AR_E HEREBY SUMM'ON`ED to appear at the CIVI`L CGURT O`F TH`E C_ITY OF `
NEW YORK, COUNTY DF ERONX at the office of the clerk of the said Court at Si"_)l _Gralld
Concourse, Bronx, NY 10451, in the COUNTY OF BRONX, State ot` New York, within lh@
time provided by law as noted below and to file an answer to\the below eomp]arnt wrth the
olerk: upon your failure to answer, judgment will be taken against you for the sum of $2
with interest thereon from Oetober 1, 2006 together with costs of this actionl

 
   

DATED: March 17, 2009

 

f By: C?fi'ry Ka"»" ` , .,
Kavnlich & _ssooiates, `P.C`.
Attorney for Plaintif`:t`

30 Chttroh Street
Suite 26

- ,. shen;heehettetnn.naa

        

Mriciant‘s Address:

Maria Tirado

260 Washington Street, Apt. 45
Salern, MA 01970-3618

 

Note: '1"`he law provides that: (e) lf the summons is s ly¢',d _ l
within the City of New‘ York, you must appear and a `_ ' '
351-trigg or (`b) It` the summons 15 Serveti by any meal …a elmer

within the City ot` New York, you must appear and answer within TI~;[IRTY days
thereof is filed with the Clerk of this Coun.

   
   

    

`.‘/' to you

. after proof of
service

Page 1

Case 1:16-cv-O2134-ALC Document 86-49 Filed 08/18/17 Page 2 of 29

COM[’LAINT

FIRST ACTION: Plaintiff seeks to recover damages from defendant(s) for breach of a lease
agreement in the sum of 32,2'76.80 representing rental arrears for the months of October, 2006
balance of 561 .60; `Novernber, 2006 through and including Fcbruary, 2007 at the agreed
monthly sum of $553.30 for the premises known as 1549 Townsend Avcnue, Apt.tiE BRONX,

NEW YORK 0 together with costs and disbursements of this action and for such other and
further relief as the court may deem just.

MM~C_U"QH: Plaintift` seeks to recover damages from the defendant in the sum of $0.00
1"31'-’1'@5¢1101'1£ damages together with costs and disbursements of this action and for such other

and further relief as the Court may deem j ust.

IE.W Plaintiff seeks to recover damages from the defendant in the sum of
$5(,)0'00 representing l“Etlsonable attorneys fees together with costs and disbursements of this
act1on and for such other further relief as the Court may deem just.

WIIEREFORE, Plaintiff demands judgment (A) on the First Action, in the sum of$2,2'76.80
plus interest from October l, 2006 together with costs and disbursements of this action and for
such other and further relief as the Court may deem just, (B) on the Sccond Action, in the sum
of 0.000 plus interest front October I., 2006 together With costs and disbursements of this
action and for such other and further relief as the Court may deem just, (C) on the “l`hird
Aotion, in the sum of $500.00 together with costs and disbursements of this action and for

such other and further relief as the Court may deem just.

rl`he Plaintiff in this action is NOT required to be licensed by the NC.W York City
Department of Consunier Aft`airs.

Page 2

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ervin comer or ruiz cirv ~ -.~ ' E’l‘RW“E
CGUNTY mr BRGNX ot Nt.w voan :_n;i@;i us a tree/cs
‘l \E( : ___W__M_
;';:gtcdlmcys: Kavulich & Assoeiates, 'p_¢_

ress. 30 Church Street, Suite 26, blew Rochelle1 NY 10801 li`ile No. 2963

'l`OWNSENI`J GARDEN (`.`ORF.,
vs_
MARIA vl"lR/ll')t'_`t. _

 

State of New Yorlc Count `
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j ~ rev n. 45 salem M m rti~:isis"“` ~- - ‘ ‘ "'" manion complaint
on. MAR{A T[_RADO' Defe"dam wefm named served the within Sn.m

 
  

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served to be the person described as said person therein.

Corporation By delivering to and leaving with and that deponent know th-=

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Sglm_bie AH¢ By delivering a truc_copy of each to a person of suitable age and discretion
eraon Satd premises is recipients [ ] actual place ot` business [X] dwelling house within the
[Xl state jt
Affixing By affixing a true copy of each to the door of said premises, wh ich. is recipients " _ _
to Door [ ] actual place of business [] dwelling house (placc ol` abodc) within the state r_-:
ll

Mai l Copy On April 24, 2009 deponent completed service under the last two sections by

[ §§ ] depositing a copy of the Sumnions and Complaint to the above address in a l“t
Class properly addressed envelope marked “Personal and Conf'idential” in an official
depository under the exclusive care and custody of the United States Post Of'l'tce in the State

ofNew York_
Deponcnt was unable, with due diligence to find thc recipient or a person of suitable age

and discretion having called thereat:

On the day of al
On the day Ol" tit
On the day of iii

Description A description ofthe Defendant, or outer person served on behalf of the Defendant
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[ X ] service of the United States Govemment or ot` the Statc ofNew York and was

informed that the recipient is _tgt. Reeipient wore civilian clothes and no military uniform
Other

[X]”Jane Doe" stated that the Defendant is ot in the miliinyy_
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Page 3

 

Case 1:16-cv-02134-ALC Document£er49 Filed 08/18/17 Page 4 of 29 _ `

Elronx Cotmty Civll Coort
Civil .ludgr‘nent

F'|aintitf(s): IEX
' - 41226-09
TOWNSEND GAl-“~’.DEN CGRF>, index Number. CV 0
Judgrnent issued: Dn Defel.l|i
vs.
On Motion ol:
» _C,
mefe"da"t($)i ant/otten s nssoclnrr.s. F’
MAR|A T:RAni;> 30 CHURCH STREET, none 26. NEW

Roche|le. NY mam'

 

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The following named partiesr addressed end identilled as creditors oelow:
Plaintiff ereditor(s) end address

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1549 ToWNsENo A\/ENuE, aRoNx, Nv ooooo-

She\|l recover of the foi|owing parties, addresses and identified as debtors betow:

Defendent debtor{s) and address

(t) MAR:A nance
see WAthNeToN erREET. APT. 4s, sal¢m, MA otero-sets

 

Judgment entered at the Bron)t County Civil Court, 851 Grand Coneourse, Bronx, NY 10451, in the STATE OF NEW YGRK

in the total amount of s2,s?s.44 en errt'rrznos at cans AM.
war/dd /@M””

deck Eaer, Chief Clork C‘.ivil Court

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Case 1:16-cv-02134-ALC Document86-49 Filed 08/18/17

  
 
 
 

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iNl`Ji"i}{ NO. 4 i 226/’09

 
 

`i‘i" JA.RDEN CORP.,
' ` Fll,l:':` i‘~i(J. 2963.0
F'LMP\TH""F(S) JUDGMEN'I`
*r\t'_ir\lNST-

Maria 'I`irado
1549 'l`otvnsend Aventte
BRONX, NEW YORK 0

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TOTAL 32,928‘77
S'l"r\'l`li OF NEW \’ORK, COUN`I`Y OF WESTCI'IESTER.:
wl“i"li§ UNDERSIGNED, ATTDRNEY r\'l` LAW Ol"` ‘l‘i~il§ S'I`A'I`E. OF NEW YOR_K, ON OI-` 'i`i'iE
ATTORNEY(S) OF R_ECORD FOR 'l`HE i"Lr\iN'l`ii`iF(S) iN THE ABOVE ENTITLI'ED ACTTION, ` ` _
STATES THAT THE DISBURSEMENTS ABOVE SPECIFIED HAVE BEEN C) it lLL NECE IULY BE MA”|EJE OR I_N§UR_RED ll
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30 CHU`RCH STREE'I`, SUITE 26
NEW ROCHELL.I.Z, NY 10801

TO THE DEI:ENDANT(S): PLEASI:`, TAI<E NO‘I`ICE ']`l'iAl'lI` TI-IE WITHIN` lS A 'l`RUE COPY OI" A IUDGMENT MADE AND
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§ TowNSEND o'ARDEN coRP., lND?IEX No. 4122¢3/09
§:,.;'" PLAINTIFF(B) +
. AI¢FIDAVIT oF
»AGMNST_ M.AlLING OF mm'l'loNAL
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DEFENDANT{S)

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GARY KAVULICH, ESQ., BE[NG DUL‘\’ SWORN HER.EEY DEPOSES AN[J SAYS:
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"l'HE IEN\"{;T.I..OPE BORE 'f‘l“[lf l\.l‘.":(_'iEND "PI'_:.RSONAL & CONFIDEN'[`[J-\[_." A-ND 'l`l‘{ElU.".`

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CWIL COURT UF THH CITY OF NEW YOR.K

 

COUN'I'Y OF BRC)NX
........ .... m---m_- -t-X
TOWNSEND GARDEN COR.P.,
Index No. 41226!09
title No. 2963.0
Plaintiff,
-agaiast- AFFIDAVI`T OF
masam__.r_oa
Maria 'I`irado
Defeadant(s).
_,-_ ___“ _ ______ }{
sTATE oF New rome )
)SS.:

COUN'I"Y C)F WESTCHESTER )

I am over 18 years ot` age am not a party to this action and reside in Westcltcster C.‘otmty,
State ot"Ncw Yot‘k.

I have been requested by Kavttiich 31 Associates_ ]`-’ C atrotney t`or the `Plaintiff, to make
an investigation to ascertain if the Det`endant(s) `\/tat 1a 't irado' ts at the present
time in military sewice for the purpose ot entry ot`judgtnent.

On July 9 2009 I Denise Miranda, contacted the Det`cnse manpower Datc (_`. enter
concentng the Det`cnciant Mat'ia I`itarlo military status

`[ inputtcci the sociat security number, as provided by the Def'endant, into the Det`ensc
Manpo\vet' Data Cct\ter.

Undcr the Det`cm;iaut’s social security numbet l received an at"t“rd: tvit from the Det`cnsc
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mWNSEND GARDEN C 1.' tP., PL.AEN“HFF,
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stare Teade, DEFENDANT(S) nMoUNT otis

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hereby deposes and st-'_t :1 under the penalties of perjury, ss:
'l"hat deponent is the ms aging agent of TOWNSEND GA.RDEN COR.P., F’laintiif in the within action; this
action was commenced §;1 substituted service of the summons and complaint upon defendant(s) and is an
action for breach of a 1111 se agreement in the amount of 52,216.1111 for the months Clctober, 2006 balance of
iot.ot);l\iovember, 2006 t;'-rough and including February. 2007 at the agreed monthly rental amount of _,\
5553.81'1 per month taite' ztppiication of security and after application of payments} no part having been ii
pald, although duty denial :led and Damages in the amount of $D.DO. Al| other causes of action are hereby
waived and disposed of. .¢1."ter a complete and thorough investigationl as l have been informed by Plaintiif ’ s
counsel, the defendant(s] slate found not to be in the military ' ` ` ` ` Rent
nies not paid by any othe' .'.ource. l make this aninnation upon personal t<nowledge. ii

 

WHEREFORE, Plaintiii 12’1\ nands judgment against defendant for sz,zve.so with interest from Oeteber 1, 2006
together with costs and disbursements of the action1 ‘

C)eted: 6!261'2009

Sworn to before me
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G|ZELLE L. NIEVES
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No. 01N15063432
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fa¢-Pmm¢rsr ofDofenso i’vt'anpower Data Cent'er jUL 0

t - '~J-aoufi ior.se-.aa
iv.’iilitary Status Report

Pursuant to the Serviceniernbcrs Civil I~telict` Aet

 

 

“( Last blame Flrstfi\/fiddle Begitr l.`)ate
TIRADO MAR.IA

 

 

Aetive IJuty Status ServieeiAgeney

l_Ba`sed on the information you have furnished, the DMDC.` does not possess any
information indicating that the individual is currently on active duty.

 

 

 

 

 

 

Upon searching the information data banks of the Departmcnt ot`Dei`ense Manpower Data Centei', based on the

iglf'rlirmation that you provided, the above is tlie current status of the individual as to ali branches ot` the
_ 1 itnl'y. _

nolan marie

lvlary M. Snavcly-Dixon, Director

Department ot` Det`ense “ Manpower Data Centcr
16th Wilson Blvd., Suite 400

Arlington, VA 22209-2593

 

'l`he Det`ense Manpower Data Center (DMDC) is an organization ot` the Dcpartnient of Detiense that maintains
the Det`ense Enrollinent and liligibility Reporting Systern (DEERS) database which is the official source ci"
data on eligibility for military medical care and other eligibility systeins.

'l`lic Departmcnt of Det`ense strongly supports the enforcement oi` the Seiviceineinbers Civil Relicl` i-\ct 550
USCS Appir. §§ 501 et seal (S_C.‘R_A) (t`ormer]y the Soldiers' and Sailors1 C`ivil Reiiet` Act of 1940]. DMDC,` liss
issued hundreds of thousands ot` "docs not possess any information indicating that the individual is currently on
active duty" responses, and has experienced a small error rate. Iii the event the individual referenced atiove, or
any family niembcr, i`riend, or representative asserts in any manner that the individual is on active diity, or is
otherwise entitled to the protections oi` thc SCR_A, you are strongly encouraged to obtain further verification of
the pci'son's active dirty status by contacting that person‘s lviiiitary Servicc viii the "det`enselinl<.niil" URiM
provided bciow. ii` you have evidence the person is on active-dirty and you t`ail to obtain this additional lvlilitar_v
Service verification, provisions of the SCRA may be invoked against you.

ll.yml mbtuin further information about the person ( cig., an SSN, improved accuracy ol"l`_')C)B, 11 ri'\iddlc iianic),
you can submit your request again at this Web site and we will provide a new certit'reate t`or that 1111va 1

'l.`his response reflects current active dirty status only. For historical int`onnation, please contact the l\/lilii£,wy
Service SCRA point's~ol"»ooi‘itaot.

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WARNING: .l`his certificate was provided based on 11 name and Social Security number (SSN) provided by tire
].Cquegrer_ reminding an erroneous name or SSN will cause an erroneous certificate to be providedl

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AF'l` 2

Salem, Massachusetts 01970

 

 

THE `PEOPLE OF THE S'I`A'l`E OF NEWY(`)RK

To: Townsend Garden Cor'p.

;;’;I;:;J;iimand that you or someone on your behalf provide and produce the following itcrn(s_`}, along with a copy ot this
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$O'i`{Optional~i)cscription of what needs to be sub

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To the Clerli of ilie Civil Coirrt ot`thc Ci€ofl\le§‘r’ork Couriiiy)bl ron ' located at 851 Grand Coneourse-, Bronx,
New York 1.045] on or before Deccmbcr 3, 2013 in Pai.”t 34 - Pr'ocedtti‘al Motiotis ~ Self`R€PWSemed ngam 503
at 9:30 ialvl

to the Records Section ofthis Court located in bloom Wir'rdow 5
to die Hon in l"art , .Rooni ,_

NOTE: A copy of any subpoena t`crr records served in a pending action shall also be served on each party who has appeared
in the action, according to CPLR Rtile 2103, so that it is received by such parties promptly after service on the Witriess and
before the production of books, papers or other tliings. Yo_ii need not pay a witness fee to anyone other than the witiiess, but
you must fill out an affidavit of service for each party served, as well as for the witnessl

Failure to comply with-a subpoena may be punishable as contempt of court k s ‘ _
and/or make you liable for a penalty not exceeding ONE i'Il_JNDl{ED FIFTY D()`LL,-§.l?t§`r.{$}`_§tl._tlt))and damages
sustained by the person on whose behalf the subpoena was issued (CPLR 2308). ' » sir a `"‘

     
 
   

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December 3 20
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for the above captioned hearing g Chwk OHL l w o _ dam

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me and Addi'ess of person to testify or hoider' of records requested: m'l`ownscrid Gardcn Corp,

 

 

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Sworn to' before mathis day , ZGl_mWW

Notary l"'rui.iiic or Cotlrt L`rrip|oyec and 'i it|c

 

 

Please fill out and return to thc court for a Judge to review_

Page 12

 
     

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State ofNe\v York, Couriiy of

t`rhe City of` i\'cw York Civi| Pan
s_s___,____h…__hmhm_mh

Plainciffts}

Defendant{s)

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lndex No'. CV-U=tlll(r-tl$)/lfi)ti

AFFII`}AVIT DF SIERVICE

Strb{ioctla for Rci'.ords

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arty to this action,

, being duly sworn, deposes and says:

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(Timc) (Dutt:)

 

(Nanie of individual i"ersen servcd)

DR

 

(`Naiiie ot`.*titihnriecd Person to accept service )

isocation of Person Served

,El Actiial person to be served
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for

 

t`Name of Birsiness or i£nrtiy )

 

Address ofPerson Served

 

 

 

 

 

 

 

 

 

[fr By Per'sonal I)elivery OR i;] Mail (Cheelr ali that apply)
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Sworn to before me on w ..m__ 20_

 

 

(Si‘gnuture of Notirry l-‘tiblic or Court Ernp|oyce)

Page 13

 

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2. Aii one NC)TA " r.~ -~ - .
3 A Sl;lb pena F{ P:R:I'Y 'i‘O ll-Il_. AC'l'l ION who is over the age o'l` 18 may "serve" the Subpoena t`or Reeords,
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b. B servin aiioth - ‘

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o ltc poison to be scrved. the envelope shotild be marked “Pcrsonal and Coniidential".

bpoena lior ltecords il`you

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eed another comrl you L' l l c mm ` y

Sltould make ii copy nfall completed papers and Al'l“it.lavit: of

4. Al`tei' the papers aired "sei'ved", the person who served the papers must complete an Aliidavit ot`Service, which is
piovided. 'l he caption ot thc case, index number, and type of paper to be served has already been completed
a. Write the name of the county where the affidavit will be signed and sworn to.

b. Write the name of the person who served the papersl
e. Write the time and date on which the papers were served.
d. Write the name of the person being served.

e. It` the papers were handed to the person_, place a check mark in the box that indicates "actual person to be se.rved."

f. `lf` the papers were handed to another pcrson, place a check mark in the box that indicates vpe|.Son ofsmmble age
and diserelloti" (Wltlolt means old enough to uiidet'stattd).

g. lf the papers were handed to an authorized person of a business or entily, Write the name of that person and the
name ot`the business or entit;v.

h. Writc the location oi" where the person was served

i. Write the address ot‘” where tiie person lives

j. Il` the person was personally seived, place a check mark in the box that indicates "by personal dc]ivcry,, and

complete the description ofthe person

k. It` the person was served by rnait, place a check mark in the box that indicates "inail (eheclc all that ap l )" 'rtd

indicate the type oi"mailiiig, and write the mailing number provided by the post miguel il y a
5. ”l`he person who served the papers must sign the Ai'l'idavit ot`Service in the

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The notary mr mud employee will complete the date and sign his/her nanie. f ry r umw emplole

NOTE: This form must be notai'izedl Lcave the rest ot' the form blankL until the person who served the pa
pers

ma presence org notary public or court employee is in

Page 14

 

/ Case 1:16-cv-02134-ALC Document86-49 Filed 08/18/17 Page 15 o`i'zQ

Civil Ccurt 01` the City of Ncw Yorlt Inc|cx Nc: ( Vu

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TOWNSE.`.ND GARDE`.N CORP

aagain$tm ` ORALANSWER
mata 't'taaco AC’I`ION FOR MONI.`£Y ONLY

 

Defendanl, MAR.IA Tl`RA`DC), at 67 HA'I`HORNE S'l`REE'l`, Al”'l` 2, Salem, Massachusetts 01 97C|t answers the

Compiaint as follows: ca
i‘ii.lEU

AHSMB.; Dated : 12/031'21113

('C,`heck aff firm nppf);l CLERK, 3 OH"ICH
1 m_”_____m_'£ireneral Denial: 1 deny the allegations in the complaint I]Et,` 0 3 2013
filing
2 meS(”-I did not receive a copy ot" the summons and complaint QWH'“ COURT
m ` BRONX CUUNTY
3 l received the Summons and Compiaint, but service was not correct as required by law.
___ 1 l { t
4 Hl do not owe this debt.
5 W l did not incur this debt. l am the victim ol" identity thel`t or mistaken identity.
ti _F_l have paid all or part of the alleged debt.
7 ___-1 dispute the amount of the debt.
8 _ Plaintitt`is required to be licensed by the department o‘l." consumer a'fl"airs ct“ the C`.ity ol`Ncw Yorl< and
does not allege a license number in the Complaint.
9 m Statute of Lirnitations (_ the time has passed to sue on this debt).
10 hMm'l`he debt has been discharged in bankruptcyl
11 _MThe collateral (property) was not sold at a commercially reasonable price.
12 _w Unjust enrichment (the amount demanded is excessive compared with the original d.cbt.)
13 m_Violation of the duty of good faith and fair dealing
14 WUttconscionability (the contract is unfair.)

15 X`X Laches (plaintilt` has excessively delayed in bringing this lawsuit to my disadvantage.)
16 Def`endant is in the military
17 XX Other: Affidavit cf service reveals that I was improperly scrved.

()'I'HER
18 Please take notice that my only source ol" income is ,which is exempt from collection
COUNTERCLAIM
19 Counterclaim(s):$ m__ Reason:

 

 

This case is scheduled to appear on the calendar as follows:

mm _|mmary 23, 2014 l’art: Part 11 ~ Sclf ltcprescnted Non-Jm'y Room 503 'l`ime: 9:311 AM Both Siclcs Notil"icd:

To:
Kavulich &. Associates PC .ID: MA DMV
181 Westchester Avenue
Suite 500(§1
Port Chester, New Yorl< 10573

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ease 1:16-cv-021`é4-ALC D"ocum`én`t 36561§"""‘1=iled 03/18/17 Page 16 of 29

   

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y Claimant(s)/Plaintiff(`s]fPetitioner(s) 3

DECISION/ORDER

Rccicacion. as required by C.'PLR §2?.11'1 (a}. oftln: papm
considered in the review of this Motionr

  
 

hch Number¢d
Ncu`ce cf Motion and Aflldav`us Annex:d.........
Ord\‘.'r w Show Causc md Afl`idavlt_\t Anm:xcd ..... 5` l

 

 

 

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il ol_‘g’_d_-L.L` a \L,.t-t`_ ,_»*»g_ t;{_dj assaying stamth ................................. w
3 exhibits ............................................
Defendant(s)/R.espondent(s) owe ................................................ “_Mmm
Upon the ioregcing cited papers, the DecisienfOrdcr on this Motion to l.-a t ar-a....‘?\-;»>.'.:»3
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‘5""' a Case 1:16-cv-02134-ALC Docume‘nt*BS-C l,|:i|`ed 08/18/17 Page 18 of 29

TGi‘]NSElND GARDEN CORP.
Plaintiffls)

 

PLEASE 'I`AKE NO'I`IC`E that upon the annexed affidavit ot` MARIA 'I`IRADO
sworn to on day oiilEC 0 3 291&0]__*, and the attached exhibits_, thc Del`endartt vvi|l
move this couit located at 851 Gl'and C.oncuurse, Bronx, New Yurlc 10451 I’art 35, Room 503 ,
on the §§ “, day ol` ,‘T/fi/\-) , 2013 , at 9:30 am , or as soon thereafter as can be heard
i'or an Order :

Disrnissing the cause of action on the grounds that the Court has no jurisdiction over the
defendant pursuant to CPLR Section 3211 because the defendant was not served with the papers in this

case OR. did not receive the papers in the right vvay as required by the law, and for such other and further
relief as this Court deems just and proper.

PLEASE TAKE 151}31{3131511?.1{ N()TICE that ( check the box below that is the correct statement):

[] these papers have been served on you at least eight days before the motion is scheduled to be
heard. You must serve your answerintg,l papers, it`any, at least two days before such time upon the
movant. At least three days prior to the time at which the motion is noticed to be beard you may
serve upon the moving party a notice of cross motion demanding reliet`.

[] these papers have been served on you at least sixteen days before the motion is scheduled to be
heard You must serve your answering papers and any notice ol" cross motion with su_l.‘iporting
papers, ii`any, at least seven days before such time. Reply or responding ai`lidavits shall be served
at least one day before such time.

All answering papers to the Court are to he liled on the return date ol` the motion with the Clorlt
ill tile Part listed nhove.

Decernber 3, 2013 __ lirom:
_\ 444/34 MARIA rlaAi;)o

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Kavulich dc Assoeiates PC '3“'5“
l Bt Westchester Avenue
Suite 500(3§

Port Chester, New York 10573
Page 18

‘ Case 1:16-cv-02134-ALC Document86-49 Filed 08/18/17 Page 19 of 29

 

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'Hgainst' l"ursuant to CPLR 3211(:1)(8)
MARIA TIRADO
Defendant(s)

 

$tate of New Y"ork, Couttty of $S{Court:County

MARIA TIRADO, being duly sworn, deposes and says:

1. Party [Who you arc] [lnitial One]

g 'l:m a) I am the Det`endant in the above entitled casc.

b) l am [ Explain who you are]

2 Request ( What you are asking the court to do)
l request that the Court issue an Oldei dismissing the case on the grounds that the coult

has no jurisdiction ovei me pursuant to CPLR 3211 because l was not served with the
papers in this case OR l did not receive the papers in the right way as required by law, or
grant such other reli.et` as the Court may deem to be just and proper.

 

3. Reason [Checl~: One]
I have a good reason because l was not setved with the court papers (did not get

any of the pape1s) and found outh about this action by 4 //r 17 751,/,¢
q ¢¢'J¢,:i M'¢n Accoun`f ph De?&)AE‘-‘“`/Cl 303-g
[] l was not served with the co o`rz't papers in the right way as requited by the law
[Explanation is 1equired]

 

 

 

4. tot Oidcr [innial Onc]
,_Q 'f a) l have not previously asked for this relief regarding this index numberl
b) l have had a previous Motion to Dismiss regarding this index number, but I am making
this qu[ther/ application because '
pt ‘r“ 4 waited tip ?va.rafc' g,ui_¢r.=_ jj d./M# m(,,,,twn 71444.,¢ I wis

-.a;“;{_'r_o!z describe a -_./it.i".‘t&st.
`gna e ol` Movant

 

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id _ ._ MARIA TIRAD(

' Notary Publicf Cotiit Etnp oyee 67 HA']“I.{ORNE ;~[*RFET
APT 2 3

Saiem, Massachusctts 019?0

Civ GF' [2'9

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Case-l:’l""s`-cv-ozls¢t-ALC Documen186-49 Filed 03/18/17 Page 20 of 29

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§`5£“'53?'€ W‘ 7%!* AYD’UFMW"'( 1970 §W*Wt:¢-_ irs rec'e'/`wii`j '7£)4~¢-'

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Page 20

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Case 1:16-cv-02134-ALC Document 86-49 Filed 08/18/17 Page 21 of 29

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ClVll_. COi.lR'l` Cll'7 'l`li.l_i CI'I`Y (`_lF NE`W YORK index l~loi /-l-l 2215/lis
CouN'rv or aitoi-ot t?"itsdr _ ___________
Attorneys: Ka.vulicli dr Associates, P.C.
Addt‘ess: 30 Chureh Street, Suite 26, New Rochelle, NY lUS(ll Filc No. 2963

TUWNSE.ND GA.R.l_')l*`.l~l COR_P.,
VS\
MARIA 'l"lRADO,
State ot`New Yorl< County of`Nassau SS:
George Suitgigtg‘, being duly sworn deposes and says:
Depottcnt is not a party ltetein, is over iB years ol`agel 011 Aprii 23, 2009 tit il§)_§ll£l'u
At: 260 Wgshint=,',ton Street. Ant. 45, Salem, MA 0197{]-3618 served the within Sun'n'i.ions and Complaint
on: MARIA TIRADO, Defendant therin named

Individual By delivering a true copy of` each to said recipient: deponent knew the person
[] served to be the person described as said person therein.

Corporatlon .By delivering to and leavingl with m_…wmmm”__ and that deponent knew the
[ ] person so served and authorized to accept service on behalf of the Corporation

Suitablc Age By delivering a true copy ol" each to a person ot` suitable age and discretion

Person Said premises is recipients [ ] actual place of business [X] dwelling house within the
[X] state. `
Affiicing By affixing a true copy of each to the door ot`said premises, which is recipients
to Door l ] actual place of business [] dwelling house (place of abode) within the state
ll
l.\/lail Copy On April 24, 2009 deponent completed service under the last two sections by
[ X] depositing a copy ofthe Suonnons and Cotnpiaint to the above address in a. l"'"

Ciass properly addressed envelope marked “Personal and Coni'ideritial" in an official
depository under the exclusive care and custody ot"the Uni.ted Statcs l”ost Ofl'ice in the State
of New York.
Deponent was unable, with due diligence to find the recipient or a person of suitable age
and discretion having called thereat:

On the day of at
011 the day ot" at
On the clay ol` at

Description A description ot` the l_`)et`endantl1 or other person served on behalt`ol" the Def<mdam
[] Sex: F Color ot" sidn: mBFBMColor of H`air: _BRN llitt_!,e: 50-55 l-leight: 5‘4" Weight: M__l,sl§§
Military Svee Deponent asked person spoken to whether the recipient was presently in military
[X ] service ct the United States Government or ot`the Btate ot'New York and was
informed that the recipient is nga ltccipient wore civilian clothes and no military uniform
Other
[X]”lane Doe" stated that the Det`endaut is_ not in the niilitary.

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Case 1:16-cv-O2134-ALC Document 86-49 Filed 08/18/17 Page 22 of 29

    

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Case_l:le'-“"é”ii:ozls¢t-ALC Documen186-49 Filed 03/18/17 Page 23 0129

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mishth MARIAT|RAIJO,atc?HAInoaNasTaEEr,Art2,s111a11 Massannnaneia?e answers the

omplaint as foilows:
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MWLB.; Dataa . 121031'21113 . ~

f.`heek all that app!y) CLHRK 5 OFHCE

l Cieneral Denial: l deny the allegations in the complaint DEC ll 3 ZUU
§EMQE

2 -__1 _ 4 4 CW 111 CO`URT

XX l did not receive a copy of the summons and complaint BR(}NX C@UNW

3 l received the Summons and Complaint, but service was not correct as required by law.

D.EEEN_SE§

XX l do not owe this debt.

-_¢-

l did not. incur this deht. l am the victim oi` identity theft or mistaken identity

4
5
6 l have paid all or part of the alleged debt.
7
8

l dispute the amount of the debt.

Plaintifl" is required to be licensed by the department of consumer affairs of the Cit'y of .New Yorl< and
does not allege a license number in the Complaint,

n 9 Statute ofLimitations ( the time has passed to sue on this deht).

10 H'l`he debt has been discharged in bankruptcy

ll mw 'l.`lie collateral (property) was not sold ata commercially reasonable price,
4 12 mUnjttst enrichment (the amount demanded is excessive compared with the original debt.)
l 13 _FH_Vioiation of the duty ot`good faith and fair dealing.

14 _Unconscionability (the contract is unfair.)

15 XX Lachcs (plaintiff has excessively delayed in bringing this lawsuit to my disadvantage.)
16 Defendant is in the militai y
17 XX Clther: Ai`fidavit of service reveals that I was impropei ly scrved.

WOTHER
13 Plcasc take notice that my only source of income is 4____”44,which is exempt from collection
IOU`NTERCLAIM
19 Counterc|aim(s):lll l{eason:

 

 

[`his case is scheduled to appear on the calendar as foliows:
inter January 23, 2014 Fart: Part 11 - Self Represented Non~Jury Roon‘l 503 Time: 9:30 Al\/I Both Sides Notilie¢|»

‘_"o:
Kavuiich dc Associates PC ID_
181 WcstchestcrAvenne 1 - MA DMV
Suite SOGC

Port Chestcr, New anl< 10573 image 23

 

CaSe 1:16-2134 ALC Document 86- 49 Filed 08/18/17 Page 251 of _29

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vii Cour of the City of New York lndex Numbcr du'f,/ ?gl fry // §§
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ss.-- fw f I)ECISION/onnsa
) 651 {,. _ @\¢ fy R:t:itation_ as required by CPLR §2219{11), of the papcts
Corl$id¢r=d in the review of this Motion:
Papers Nntnbcred
` Ciaimant($)/Pialnliff'($)/P€lltl()!'l€l"($) Notice of Motion md AHidavits Armexcd.........
again-sr (`)rt|t:r to Shnw Cause and Al'fldlvil.s N'tttclt£d ..... ”: l. ,
¢1'""“"'_ Answcring Al?idsvit_s .............................. ___“_____m'm
NA/.L£` tim \1_,11__ 5111____11_@ staying Arnasvits ................................. _"_
Eshtsie ............................................ __________
Defendant(s)/Respondent(s) other ................................................

 

del f__/FH’?§.:¢::‘_.,

Upon the foregoing cited papers, the Decisionft]rder on this Motion to

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Cc)umy of w Motion Ca]. # Mc)ticm Seq. #

 

DECISION/ORDER

Parl
“""-F.r 5 Rcc\tmwn. a.s required by CPl,.R 52119 {a). of the papers
M 151 gf`z.,» 5
` considered in thc rcv:cw of this Moc¢on

 

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Claimant(s)/Plaintiff(s)/'Petitioner(s) Nmi=c omeian and Amdaviu Anm=x=d .........
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Exhihiu ............................................
Dcfendant(s)/Rcspondent(s) cum ................................................ w

 

l UPm'*- the foregong cited papers, the DecisionfOrcIer on this Mc)tion to _1,,12?_~¢:-§-¢&§"

~ " - #F#"E#'/ is as follows:
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Case 1:16-0§v-02134-ALC Documen186-49 Filed 08/18/17 Page 26 of 29

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`I`OWNSEND GAP~DEN CORP- onions To snow oAuss

" ag a in 5 t “ 'l‘o res1ore case to the calendar, and vacate any
MARIA TIP\ADO jndgment, liens and income executions on this
defendant on this 111ch number,
allow proposed answer or dismissing the action

UPON the annexed aii'1davit ot MARIA ilRAD() swoin to on November ], 2{)113 and upon all p11pc1s and
proceedings herein:

I1et the Claimant(s)/Plaintiil`(s) or Cilainiaiit(s)XPlairitill`(s) attorney(:s) show cause at:
B:'onx Civil Conrt
851 Grand Concourse
Bronx, New York 10451
P111'134 Room 503 §§
11 /1/,;> y 1‘? ,Qo/_; 111 91311 AM

or as soon thereafter as counsel may be heard, why an order should not be inade: `J

 

 

 

 

 

 

 

"-'ii 15 u 1;.-

VACAI`ING the Judgrnent and all 1nco111e executions and restraining notices, ii any 1esrori1'1g the o:ise to the

calendar deeming the proposed answer filed and/or dismissing the action it warranted 1111di granth such and
l"urthei relief as may be just ' \_5 111

1--1¢ -1.

PENDING the hearing of this Order to Show Cause and the entry ol` 1111 C)rder thereon, let all proeéf'e:dings on the
pan oi`the Claimant(s)fl°laintiit"(s), Claimant(s)/Plaintil`t`(s) atlorney(s) and agent(s) and any Marshal or Sheritl*ol"
the City ot" New York for the enforcement of said Judgrnent be stayed

SERVICE ot` a copy ol" this Order to Show Cause, and annexed Ai`i"ldavit, upon the:

 

Claimant(s)/P1ai11tiH(s) or named attorney(s): Sherit‘t" or Marshal:

(.`ludge to lnitia|) {Judge to tnitia|)
by Personal Service by " In Hand Delivery" by Pe1sonal Serviee by " in I--Iand l)elivery"

mm by Certifled Mail, Return Receipt l`{equested :Z: by Certitied Mail, Return Receipt l`{equested
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on or before ii { 1'13> ,sl111tl be deemed good and suttleienr

I’ROOF OF SUCH SI'£HV}CE may he filed with the Clerl< in the `Pm't
indicated above 1111 the return date ol` this Order to Show Cnuse.

Mnil to Attorney or party: Slierit`l"/Maishal: ,/` l _ @%ii
Kavutich & Assoeiates PC (Connsel forPltf), 111 131 Westchester w 511 11 1
Avgnue’ Suire 500(_`1‘, Port Chester, New York 105?3 {O OC{ "é'a § 5 “"QM;§

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Novemberl,?,t)l."> ; §

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DATH lion DaMColieii, Civil t1ourt1ludge (NYC.`)

   

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t WFCB'MEND GARDEN CORP" r-\il'id:wit itt SLJppm't ol`nn order to shoii.r cause to

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MAR m T IRADO restore case to the calendar, vacate any j'l,dg,.ne,,l'

liens and income executions on this defendant on
this index number,
allow proposed answer or dismissing the action

 

State of New Yorh County ot` `New Yoik:
MARIA TIRADO ,being duly sworn deposes and says:

{Del"en nt' s initiats) d
IM fiza) II 111“11 the Party named ns (Detendmi (Respondent) in the above titled action

2. a 1 have been served with a summons and complaint in this tielimi. [NOTE: it`Smnll Claims ship #3, and go 111 # 41
i l hHVE nut been Servod, and my first notice of legal action Wa$ |NOTE: it`yuu CG|“P|L`W any of#zb,
skip #3, #4, #5, and ge to #6|
§ 11 Notice oi` Defanlt .ludgment mailed to me
a Restraining `Notice on my bank aecount_ Ms weak
W 11 copy of an Incnme Execittion served 1111
Other:

3. 11) l did not apper§ and answer in the Cleric's Ofi`te¢“\becatise:{N`OTE: it'you eom[i\ete # 331 Skip find go IO #5]»

 

 

 

 

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4. On the Date oi`Trinl bei"o - JudgefArbitrator

11 stipulation(a writt ng\eement) was made between e 1mant/pl”111'111f1i` and defendant
ajudgment was enter after the trial.

ajndgment was entere ' gainst me by default t'or my faiiu to appear.

 

 

   
 

 

 
 
    

 

"Ot.hor: m ----- \ ----------------
5. My reason for not \ \ l
_M_ complying with the stipulation 1 §
following the order ot” the Conrt is § __ _ _ 1 § § § CM \
appearing in wotc:o - 1 ' . §_§,» M jj? 51
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b) I have had 11 apresidents Oider to Show Cause legarding this index number but l am making this application §

because-z -i\

 

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t& ,,/"l reqtiest that the neigmentJ be vacated_, that the cause be lostoi ed to the calendar, that the answer he deemed

  
   

 

 

 

 

 
    
  

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Index Nu.mber L“§ §.2?112_(/:% )(?

 

 

 

 

 

 

 

Upon the foregoing cited papers, the Dccisionf©rder nn this Motion to

is as follows:

 

Civil Court he City f New York

CO“"§Y Of ivasz Motion Cal. # Mo(§on Seq. §§
§ m `“'J b DECISION/<;)RDER §:§' § '
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considered in the review of this Motion: §
P¢pers Numb¢rcd
CIaimant(S)/Plaimi£f($)/PEtit§onel'($) Noli:¢ ofMolicsn and AfHd§w`cts Anncxcd .........
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D€:fendan§(s)/Respondem(s) 0§§11-_§,......,...1. . .

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322 §Y`\OE>JC. rP§ §23§§’\§~§~\~_€@€§§ :5(¢‘3>§”`\`§7 .f“§§ §‘§'-11'§`>

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